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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 18-62833-Civ-COOKE/HUNT

   NATIONWIDE VAN LINES, INC.,

          Plaintiff
   vs.

   TRANSWORLD MOVERS. INC.,
   et al.,

         Defendants.
   ___________________________________/
                       ORDER ADOPTING MAGISTRATE JUDGE’S
                          REPORT AND RECOMMENDATION
          THIS MATTER is before me upon the Report and Recommendation (“R&R”) of the
   Honorable Patrick M. Hunt, U.S. Magistrate Judge (ECF No. 136), regarding Defendants’
   Motion for Appellate Attorneys’ Fees, ECF No. 132. The Undersigned referred this case to
   Judge Hunt for all non-dispositive pretrial motions, fees, and costs, as well as the specific
   motion at issue here. ECF Nos. 8 and 135; see also 28 U.S.C. § 636; S.D. Fla. L.R., Mag. R. 1.
          In his R&R, Judge Hunt recommends that Defendants’ Motion for Appellate
   Attorney’s Fees be denied.
          I have reviewed Defendants Motion for Appellate Attoney’s Fees, the briefing related
   thereto, Judge Hunt’s R&R, the Objections to Judge Hunt’s R&R, the record, and the relevant
   legal authorities. Having done so, I find Judge Hunt’s R&R to be clear, cogent, and
   compelling.
          Accordingly, Judge Hunt’s R&R (ECF No. 136) is AFFIRMED and ADOPTED as
   the Order of this Court. It is hereby ORDERED and ADJUDGED that Defendant’s Motion
   for Appellate Attorneys’ Fees (ECF No. 132) is DENIED.




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           DONE and ORDERED in chambers, at Miami, Florida, this 14th day of February
   2022.




   Copies furnished to:
   Patrick M. Hunt, U.S. Magistrate Judge
   Counsel of record




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